                          Case 18-12773-BLS       Doc 4      Filed 12/13/18       Page 1 of 27



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

INTERTOUCH HOLDINGS LLC,                                      Case No. 18-12772 (BLS)

                                Debtor.


In re:                                                        Chapter 11

INTERTOUCH TOPCO LLC,                                         Case No. 18-12773 (BLS)

                                Debtor.


    GATE WORLDWIDE HOLDINGS LLC’S EMERGENCY MOTION TO DISMISS THE
    DEBTORS’ CHAPTER 11 CASES PURSUANT TO § 1112(b) AND/OR ABSTAIN FOR
          HEARING DEBTORS’ CHAPTER 11 CASES PURSUANT TO § 305(a)
                        OF THE BANKRUPTCY CODE

              Gate Worldwide Holdings LLC (“GWH”) moves (the “Motion”) on an emergency basis

to dismiss the Chapter 11 cases filed by interTouch Topco LLC (“Topco”)1 and interTouch

Holdings LLC (“interTouch” and collectively the “Debtors”)2 (collectively the “Bankruptcy

Cases”) pursuant to Section 1112(b) of Title 11 of the United States Code (the “Bankruptcy

Code”), or in the alternative, to abstain from hearing the Bankruptcy Cases under Section 305(a)

of the Bankruptcy Code. This Motion is supported by the Affidavit of Joseph L. Clasen in

Support of GWH’s Emergency Motions for (i) Entry of an Order Dismissing Debtors’

Bankruptcy Cases Pursuant to Sections 1112(b) and/or 305(a) of the Bankruptcy Code and (II)

Entry of an Order Granting Relief from the Automatic Stay Pursuant to Section 365(d) of the




1
              Topco filed its Voluntary Petition under Chapter 11 of the Bankruptcy Code on December 10, 2018, case
              number 18-12773.
2
              InterTouch filed its Voluntary Petition under Chapter 11 of the Bankruptcy Code on December 10, 2018,
              case number 18-12772.


27528190.2   12/13/2018
                        Case 18-12773-BLS        Doc 4       Filed 12/13/18   Page 2 of 27



Bankruptcy Code (the “Clausen Affidavit”), filed contemporaneously herewith.                    In further

support of this Motion, GWH respectfully states:

                                               INTRODUCTION

             1.         The Debtors, two holding companies with no business operations, and no prospect

of reorganizing, filed Chapter 11 bankruptcy petitions at 4:30 a.m. on December 10, 2018 and

just hours before the Supreme Court of the State of New York, County of New York (the “New

York Court”) in an action entitled Gate Worldwide Holdings LLC v. interTouch Holdings LLC,

et al., Index No. 650026/2018 (the “New York Action”) was scheduled to enter a final order

approving the sale of Topco’s 100% ownership interest in and control of interTouch to GWH.

Rather than allowing the New York Court to enter its order, Seale A. Moorer, Jr. (the

“Principal”), a principal of the Debtors, authorized the bankruptcy filings in an effort to benefit

from the Bankruptcy Code’s automatic stay provisions.

             2.         It is clear from the record that the Debtors’ only reason for filing the bankruptcy

petitions was to delay and frustrate GWH’s efforts to partially satisfy an over $50 million New

York Court judgment through the acquisition of the Topco’s 100% interest in interTouch.

Indeed, the Debtors agreed to a New York Court-sanctioned sale process and public sale of

interTouch; however, after GWH prevailed as the highest bidder under the sale process, and after

a Friday, December 7, 2018 hearing in the New York Court (required to confirm the sale), on

Monday, December 10th, the Debtors filed the Bankruptcy Cases, hours before the New York

Court entered the order confirming the sale.

             3.         By filing the Chapter 11 petitions, the Debtors unequivocally attempt to (1) stay

the sale of Topco’s 100% interest in interTouch, (2) relitigate claims that have already been

decided against the Debtors in the New York Court, and (3) frustrate GWH’s efforts to gain



                                                         2
27528190.2 12/13/2018
                        Case 18-12773-BLS          Doc 4        Filed 12/13/18     Page 3 of 27



satisfaction of its judgment. These grounds, when coupled with the fact that the Debtors have no

prospect of reorganizing, require dismissal under Third Circuit precedent. Stated simply, the

Debtors do not seek to preserve assets or properly reorganize their businesses; rather, the Debtors

seek only to delay the transfer of their business, impose unnecessary and substantial costs upon

GWH, and undermine the orders of the New York Court. Accordingly, this Court should

exercise its statutory authority, broad discretion and equitable powers to dismiss the Debtors’

cases for lack of good faith.

                                                  JURISDICTION

             4.         This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 1334 and

157(b). The Motion is a core matter within the meaning of 28 U.S.C. § 157(b)(2).

             5.         Venue of the Motion in this Court is proper pursuant to 28 U.S.C. § 1409.

             6.         The statutory predicates for the relief requested herein are sections 105(a), 305(a),

and 1112(b) of the Bankruptcy Code and related Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

                                                       FACTS3

The Parties:

             7.         Topco and interTouch are two Delaware limited liability companies that were

formed on or around September 29, 2015. Both entities are affiliated entities of a non-debtor, ST

Holdings, LLC (“ST Holdings”), a limited liability company owned and controlled by the

Principal. See New York Complaint (attached as Exhibit 1 to the Clasen Affidavit), ¶¶ 2-5.

             8.         ST Holdings owns 100% of the membership interest in Topco. See id.




3
             The factual assertions are supported by documentary evidence submitted as exhibits attached to the Clasen
             Affidavit.

                                                            3
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4       Filed 12/13/18   Page 4 of 27



             9.         In turn, Topco is a holding company that owns one asset: 100% of the

membership interest in interTouch. Topco has no independent business operations, has no

employees—and gleaned from the identical list of creditors contained in List of Creditors Who

Have the 20 Largest Unsecured Claims and are not Insiders—no real operating expenses or

revenues, other than professional fees and intercompany debts.                See id., ¶¶ 2-6; see also

Bankruptcy Petitions filed by Topco and interTouch (Dkt. Entry No. 1).

             10.        interTouch is also a holding company, which owns 100% of the interest in two

operating entities, interTouch Pte. Ltd. based in Singapore and Nomadix Inc. based in California.

Id.      According to the company’s website, interTouch Pte. Ltd. and Nomadix Inc. provide

wireless broadband connectivity services, multimedia services, interactive TV and networking

monitoring to hotels around the world. See www.intertouch.com/company.

             11.        Similar to Topco, interTouch does not own any other assets, conducts no regular

business operations, incurs no operating expenses, generates no operating revenue, and does not

have any employees. See New York Complaint (Clasen Aff., Ex. 1).

             12.        GWH is a limited liability company organized under the laws of Delaware. See

id.

The Note Purchase Agreement and Promissory Note:

             13.        On or about September 29, 2015, interTouch entered into a Note Purchase

Agreement (the “NPA”) with non-party NTT Docomo, Inc. (“Docomo”). The NPA governed

the obligations owed by interTouch to Docomo. See id, ¶ 9; Copy of the NPA is attached as

Exhibit A to the Complaint.               (The NPA, all amendments and modifications thereto, all

promissory notes, collateral agreements, guarantees and other note documents and obligations

are collectively referred to as the “Note Documents.”)



                                                        4
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4       Filed 12/13/18   Page 5 of 27



             14.        On or about September 29, 2015 and pursuant to the NPA, interTouch duly

executed, acknowledged, and delivered to Docomo a Note in the original principal amount of

Fifty-Five Million Dollars ($55,000,000), by which interTouch agreed to repay pursuant to the

terms of the Note and NPA. See New York Complaint (Clasen Aff., Ex. 1), ¶ 10; Copy of the

Note is attached as Exhibit B to the Complaint.

             15.        Under the terms and provisions of the NPA and Note, interTouch was required to

pay all of the outstanding principal of the Note on the Maturity Date of March 31, 2017. The

failure to pay any part of the principal of the Note when due constituted an “Event of Default.”

See New York Complaint (Ex. 1), ¶¶ 12, 15; see also Note attached as Exhibit B to the

Complaint.

             16.        As security for payment under the Note, Topco and other related entities executed

various guaranties and pledges. These guaranties and pledges were part of the consideration to

Docomo and secured the obligations under the Note. See New York Complaint (Clasen Aff., Ex.

1), ¶¶ 28-37 10; Copies of the Topco Guaranty and UCC-1 Financing Statement are attached as

Exs. G & H to the New York Complaint.

             17.        Specifically, Topco executed a guaranty, which provided that in the event that

interTouch failed or was unable to pay or perform its obligations under the Note, Docomo or its

assigns may proceed directly against Topco to obtain performance and to collect and recover the

full amount, or any portion, of the obligations that are due and payable (the “Topco Guaranty”).

See id., ¶¶ 35-36.

             18.        The Topco Guaranty was secured by a Membership Interest Pledge, which

provided that Docomo and its assigns had a first priority security interest in “the membership

interest units of [interTouch] owned by [Topco], as such amount may be adjusted from time to



                                                        5
27528190.2 12/13/2018
                        Case 18-12773-BLS        Doc 4        Filed 12/13/18     Page 6 of 27



time by [interTouch], pursuant to splits, together with all certificates, options, or rights of any

nature whatsoever that may be issued or granted in such membership interest units by

[interTouch] to [Topco] while this Agreement is in effect.”4 See id. & Exhibit G to New York

Complaint.

             19.        interTouch caused an Event of Default by failing to pay all outstanding principal

of the Note by or on the Maturity Date of March 31, 2017. See New York Complaint (Clasen

Aff., Ex. 1), ¶¶ 51-58.

Assignment of Note Documents

             20.        On or about August 30, 2017, Docomo assigned to GWH all rights, title, and

interests in, to, and under the Note Documents. See New York Complaint, ¶ 47. Pursuant to the

Purchase Agreement, Docomo agreed to assign, sell, convey, endorse and deliver to GWH, its

successors and assigns, to have and to hold forever, all of Docomo’s rights, title and interests in,

to and under the Note, the Note Purchase Agreement and all other Note Documents (including,

without limitation, the right to act as Noteholder, Pledgee, Holder and Secured Party thereunder).

See id., ¶¶ 48-50.

The Forbearance Agreement

             21.        On October 6, 2017, GWH, on the one hand, and interTouch, Topco, ST

Holdings, and Nomadix, Inc. (the “New York Court Defendants”), on the other, entered into a

forbearance agreement (the “Forbearance Agreement”). See New York Complaint, ¶¶ 59-63;

Copy of the Forbearance Agreement is attached as Exhibit L to the New York Complaint.




4
             Other related business entities also pledged collateral to secure the Note. Nomadix executed a Patent
             Security Agreement providing the holder of the Note with a security interest in Nomadix’s patents. ST
             Holdings executed a Membership Interest Pledge in the membership interest units of Topco. See New
             York Complaint (Clasen Aff., Ex. 1), ¶¶ 18, 38.

                                                          6
27528190.2 12/13/2018
                        Case 18-12773-BLS           Doc 4        Filed 12/13/18      Page 7 of 27



             22.        Pursuant to the Forbearance Agreement, GWH agreed to forbear from enforcing

its rights and remedies under the NPA and related documents until November 1, 2017, subject to

certain representations, warranties, covenants, and acknowledgments by the New York Court

Defendants. See id.

             23.        Section 2(d) of the Forbearance Agreement provides:

                        The Obligors [Defendants] confirm, acknowledge and agree that the
                        current amounts owing under the Note Purchase Agreement and Other
                        Note Documents is $48,050,000.00, plus interest, fees and all other
                        amounts, and such amounts would be due under the Note Purchase
                        Agreement and Other Note Documents absent the forbearance as provided
                        in this Forbearance Agreement. Obligors [Defendants] agree that the
                        foregoing amounts would be due and payable from Obligors
                        [Defendants], are not contested by Obligors [Defendants], and that there
                        would be no defenses, right of offset, credits or other claims or defenses
                        with respect to such foregoing amounts. The Obligors further confirm
                        that the Noteholder (including, for the avoidance of doubt, any
                        predecessor thereof) has fully and timely performed all of its obligations
                        and duties in compliance with the Note Purchase Agreement, the Other
                        Note Documents and applicable law, and has acted reasonably, in good
                        faith, and appropriately under the circumstances.

             24.        Notwithstanding, to date, interTouch and Topco have failed to comply with their

obligations under the Note Documents, including payment of the amounts due and owing GWH.

See New York Complaint, ¶ 63.

The New York State Court Foreclosure Action5

             25.        On January 3, 2018, GWH commenced the New York Action against the New

York Court Defendants. The New York Action was filed in order for GWH to enforce the terms

of the Note and Forbearance Agreement. See New York Complaint (Clasen Aff., Ex. 1).




5
             GWH requests that this Court take judicial notice of the existence of pleadings, notices, and orders in the
             New York State Court Action, which the Court is permitted to do. See O'Boyle v. Braverman, 337 F. App’x
             162, 164-65 (3d Cir. 2009) (affirming lower court’s ability to take judicial notice of state court
             proceedings). For ease of reference, the relevant pleadings, notices, and orders in the New York Action
             have been attached as exhibits to the Clasen Affidavit.

                                                             7
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4       Filed 12/13/18   Page 8 of 27



             26.        Shortly after the New York Action was commenced, GWH moved for summary

judgment on its various claims, including its breach of contract claim and its claim seeking to

foreclose on Topco’s Membership Pledge.                 See Notice of Motion for Summary Judgment

(attached as Exhibit 2 to the Clasen Affidavit).

             27.        On June 20, 2018, the New York Court granted GWH’s Motion for Summary

Judgment, in part, and on June 29, 2018, entered a judgment against interTouch, Topco, and

Nomadix, Inc. in the amount of $49,658,725.62, with interest accruing on that judgment debt at a

rate of 9% (the “New York Court Judgment”). See 06/20/18 H. Tr. (attached as Exhibit 3 to the

Clasen Affidavit) & Judgment Order (attached as Exhibit 4 to the Clasen Affidavit).

             28.        In an effort to partially satisfy the New York Court Judgment, GWH and the New

York Court Defendants stipulated to a public auction process for selling Topco’s membership

interest in interTouch. See Stipulation and Order for the Public Sale of Subject Collateral (the

“Sale Order”) (attached as Exhibit 5 to the Clasen Affidavit). The New York Court So Ordered

the Sale Order and selected Traxi LLC as the broker to assist with the public sale. See id.; see

also Court Notice (attached as Exhibit 6 to the Clasen Affidavit).

             29.        Pursuant to the Sale Order, GWH placed an opening credit bid of $10,000,000 for

the membership interest units in interTouch. See Sale Order (Clasen Aff., Ex. 5).

             30.        Traxi LLC engaged in a robust marketing of the public auction process, including

working with interTouch’s counsel on the Sale Teaser and Participation Requirements,

publishing notices of sale in the Wall Street Journal, and sending solicitation emails to over One

Thousand (1,000) potential bidders. See Notice of Motion to Confirm the Sale of interTouch

Holdings LLC (attached as Exhibit 7 to the Clasen Affidavit); see also Affidavit of Anthony

Pacchia (Chief Executive Officer of Traxi, LLC) (attached as Exhibit 8 to the Clasen Affidavit).



                                                        8
27528190.2 12/13/2018
                        Case 18-12773-BLS      Doc 4       Filed 12/13/18   Page 9 of 27



             31.        When the public sale concluded, no other parties had placed a bid. See Clasen

Aff., Ex. 7.

             32.        On October 30, 2018, GWH filed a motion to confirm and approve the sale of

interTouch to GWH for the credit bid amount of $10,000,000 (the “Motion to Confirm”). See

Clasen Aff., Ex. 7.

             33.        The Defendants, including interTouch and Topco, filed an opposition to the

Motion to Confirm, baselessly claiming that GWH failed to retain a qualified broker on

commercially reasonable terms and failed to take commercially reasonable actions in conducting

the sales process. See Opposition to Motion to Confirm (attached hereto as Exhibit 9 to the

Clasen Affidavit).

             34.        On December 7, 2018, the New York Supreme Court held oral argument on the

Motion to Confirm. At oral argument, counsel for the New York Court Defendants’ stated that

they had until the December 7, 2018 to make payment on the Judgment and that New York Court

Defendants “expect to have that payment by the end of the day.” See Transcript of December 7,

2018 Proceeding (attached as Exhibit 10 to the Clasen Affidavit). At the conclusion of oral

argument, the Court stated that if the New York Court Defendants did not make payment on the

Judgment by the end of the day, the Court would rule on GWH’s sale motion early in the week

beginning on December 10th. Id.

             35.        The New York Court Defendants did not make any payment on the Judgment by

the end of December 7, 2018. Accordingly, on Saturday, December 8, 2018, GWH advised the

Court that no payment was made and requested that the Court proceed with entering the order

confirming the sale Topco’s 100% ownership interest in                      interTouch to GWH.   See




                                                       9
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18    Page 10 of 27



Correspondence with the New York Court, dated December 8, 2018 (attached as Exhibit 11 to

the Clasen Affidavit).

             36.        The Court’s law clerk, Rose Magaldi, responded “Thank you. We will proceed as

the judge indicated when you appeared [at the December 7, 2018 hearing].” See id.

             37.        At approximately 4:30 a.m. on December 10, 2018, both interTouch and Topco

filed the Bankruptcy Cases. See Notice of Bankruptcy (attached as Exhibit 12 to the Clasen

Affidavit).

             38.        After the Debtors’ filed the Bankruptcy Case but before the Debtors’ filed notice

in the New York Action, the New York Court entered an order, granting GWH’s Motion to

Confirm and ordering that the membership interest units in interTouch be transferred to GWH

(the “Order Confirming Sale”). See Order Confirming Sale (attached as Exhibit 13 to the Clasen

Affidavit).

                                         THE BANKRUPTCY CASES

             39.        As noted, supra, at around 4:30 a.m. on December 10, 2018, and with full

knowledge that the New York Court was going to enter the Order Confirming Sale, the Debtors

filed the Bankruptcy Cases.

A.           The Topco Case

             40.        Topco listed assets of between $0 and $50,000 and liabilities between $0 and

$50,000. However, Topco’s List of Creditors Who Have the 20 Largest Unsecured Claims and

are not Insiders (“Topco Top 20 List”) reflects claims of non-insider professionals exceeding

$1.2 Million. See Dkt. Entry No. 1 at p. 3. More troubling is that Topco’s Bankruptcy Petition

and Topco’s Top 20 List, signed under penalties of perjury, omit any reference to GWH or the

$50 Million Judgment GWH holds against Topco. Id.



                                                        10
27528190.2 12/13/2018
                        Case 18-12773-BLS        Doc 4     Filed 12/13/18      Page 11 of 27



             41.        The Principal executed the Unanimous Written Consent of the Sole Member of

interTouch Topco LLC; however, as noted, supra, ST Holdings is the sole member of Topco, and

not the Principal. See Dkt. Entry No. 1 at pp. 5-6.

             42.        Topco did not file any of the Schedules, Statements and other Documents as

required by Bankruptcy Rule 1007,6 nor did it request an extension to file such Schedules,

Statements and Documents.

             43.        Topco did not file any of the typical first day motions, or a declaration in support

of such motions, that one would expect to see filed in the Court.

B.           The interTouch Case

             44.        interTouch listed assets of between $0 and $50,000 and liabilities between $500

Million and $1 Billion. interTouch’s List of Creditor Who Have the 20 Largest Unsecured

Claims and are not Insiders mirror’s Topco’s Top 20 List, which reflects claims of non-insider

professionals in the amount of $1.2 Million. See Dkt. Entry No. 1 at p. 9-10.

             45.        The Principal executed the Unanimous Written Consent of the Sole Member of

interTouch Holdings, LLC; however, as noted, supra, Topco is the sole member of the

interTouch, and not the Principal. See Dkt. Entry No. 1 at pp. 5-6.

             46.        interTouch did not file any of the Schedules, Statements and other Documents

required by Bankruptcy Rule 1007, nor did it request an extension to file such Schedules,

Statements and Documents.

             47.        interTouch did not file any of the typical first day motions, or a declaration in

support of such motions, that one would expect to see filed in the Court.




6
             Bankruptcy Rule 1007 does permit the Debtors to file their Schedules, Statements and Other Documents
             within 14 days of the Petition Date.

                                                         11
27528190.2 12/13/2018
                        Case 18-12773-BLS      Doc 4    Filed 12/13/18     Page 12 of 27



                                              RELIEF SOUGHT

             48.        GWH seeks dismissal of the Debtors’ Bankruptcy Cases with prejudice pursuant

to section 1112(b) of the Bankruptcy Code. As set forth below, cause for dismissal exists when a

debtor has filed its bankruptcy petition in bad faith. This Bankruptcy Cases are the paradigmatic

bad faith cases.

             49.        In the alternative, GWH seeks an order from the Court: (i) abstaining from

hearing the Bankruptcy Cases pursuant to section 305(a) of the Bankruptcy Code on the grounds

that the Bankruptcy Cases are merely a two-party dispute between the New York Defendants and

GWH, and that the Debtors filed in bad faith.

                                                 ARGUMENT

I.           THE DEBTORS’ CHAPTER 11 CASES SHOULD BE DISMISSED FOR CAUSE
             UNDER SECTION 1112(b) OF THE BANKRUPTCY CODE BECAUSE THEY
             WERE FILED IN BAD FAITH

                        A.     Legal Standard Governing Motions to Dismiss Under Section 1112(b)

             50.        Under 11 U.S.C. § 1112(b), this Court should dismiss the Debtors’ bankruptcy

petition “for cause” because the petitions were filed in bad faith. See In re 15375 Mem’l Corp.,

589 F.3d 605, 618 (3d Cir. 2009); (quoting In re Integrated Telecom Express, Inc., 384 F.3d 108,

118 (3d Cir. 2004)); In re SGL Carbon Corp., 200 F.3d 154, 160 (3d Cir. 1999).

             51.        In the Third Circuit, it is the bankruptcy petitioners’ burden to prove that the

filing was made in good faith. See In re 15375 Mem’l Corp., 589 F.3d at 618; In re SGL Carbon

Corp., 200 F.3d at 162, n.10. This burden requires proof that the petitions were filed in order to

preserve the Debtors’ going concern value or to maximize the value of the Debtors’ estate, rather

than as a litigation tactic. Id.




                                                       12
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18    Page 13 of 27



             52.        The Third Circuit has held that the “good faith” requirement for Chapter 11

petitioners has “strong roots in equity.” In re SGL Carbon Corp., 200 F.3d at 161. In SGL

Carbon Corp., the Third Circuit discussed the purpose behind the good faith requirement of 11

U.S.C. § 1112(b) as follows:

                           A good faith standard protects the jurisdictional integrity of the
                           bankruptcy courts by rendering their equitable weapons . . . available
                           only to those debtors and creditors with ‘clean hands.’ Another basic
                           underpinning of the good faith doctrine is the equitable concept of
                           clean hands. As a general matter, bankruptcy relief is equitable in
                           nature, and, as a general rule, equitable remedies are not available to
                           any party who fails to act in an equitable fashion.

                           ***

                           A good faith standard furthers the balancing process between the
                           interests of debtors and creditors which characterizes so many
                           provisions of the bankruptcy laws and is necessary to legitimize the
                           delay and costs imposed upon parties to a bankruptcy. Requirement of
                           good faith prevents abuse of the bankruptcy process by debtors whose
                           overriding motive is to delay creditors without benefitting them in any
                           way[.]

Id. at 161-62 (citations and quotations omitted).

             53.        In order to determine whether a Chapter 11 petition has been filed in good faith,

courts look to “‘(1) whether the petition serves a valid bankruptcy purpose’ and ‘(2) whether the

petition is filed merely to obtain a tactical litigation advantage.’” In re 15375 Mem’l Corp., 589

F.3d at 618 (quoting In re Integrated Telecom Express, Inc., 384 F.3d at 119-20) (emphasis

supplied); In re SGL Carbon Corp., 200 F.3d at 165 (noting that a “Chapter 11 petition is not

filed in good faith unless it serves a valid reorganizational purpose[,]” that “courts have typically

dismissed Chapter 11 petitions” that were filed “merely to obtain tactical litigation

advantages[,]” and that where “the timing of the filing of a Chapter 11 petition is such that there

can be no doubt that the primary, if not sole, purpose of the filing was a litigation tactic, the




                                                        13
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4     Filed 12/13/18    Page 14 of 27



petition may be dismissed as not being filed in good faith.”) (citations and quotations omitted;

alterations supplied).

                        B.     The Debtors’ Cases Serve No Valid Bankruptcy Purpose.

             54.        The basic purpose of Chapter 11 are (i) “preserving going concerns,” and

(ii) “maximizing property available to satisfy creditors.” Integrated Telecom, 384 F.3d at 119. It

is beyond dispute that the Debtors are not “going concerns” because both entities are special

purpose holding companies that have no dedicated employees or business operations. The

Debtors were created solely for the limited purposes of owning a 100% membership interest in

other business entities. See 15375 Memorial, 589 F.3d at 619 (dismissal warranted where there

was no “going concern” and debtor had “no employees, offices or business other than the

handling of litigation”).            As stated above, Topco owns only the membership interests in

interTouch and interTouch only owns interests in two operating companies, Nomadix Inc. and

interTouch Pte. Ltd. Accordingly, to establish a valid bankruptcy purpose, the Debtors must

show that the Bankruptcy Cases will maximize the value of the Debtors’ estates, which they are

unable to do. Id.

             55.        To say that a bankruptcy maximizes the value of the estate is to say that the

bankruptcy “create[s] or preserve[s] some value that would be lost – not merely distributed to a

different stake holder—outside of bankruptcy.” Integrated Telecom, 384 F.3d at 120 (emphasis

added). See 15375 Memorial Corp., 589 F.3d at 625.

             56.        Moreover, the Third Circuit has consistently held that a naked desire to obtain the

protections of the automatic stay is not a valid justification for seeking bankruptcy relief. 15375

Memorial, 589 F.3d 620; Integrated Telecom, 384 F.3d at 128. The Third Circuit has also held

that the liquidation and distribution of the debtor’s estate to stakeholders, standing alone, are not



                                                        14
27528190.2 12/13/2018
                        Case 18-12773-BLS         Doc 4      Filed 12/13/18        Page 15 of 27



valid bankruptcy purposes justifying chapter 11 relief. Integrated Telecom, 384 F.3d at 126

(finding “no authority that the Code can be used to effectuate a liquidation that has no hope of

maximizing the value of the company . . . but simply facilitates dissolution on terms favorable to

equity interests”). This is particularly so where the bankruptcy liquidation and distribution

processes would not result in any efficiencies not already available under state law. Id.

             57.        GWH cannot anticipate the “bankruptcy purposes” the Debtors may desperately

advance to argue good faith in commencing the Bankruptcy Cases. But GWH is confident that

any purported justification for the Debtors’ bankruptcy filings will not withstand scrutiny in light

of the extraordinary circumstances presented by the Bankruptcy Cases, which include the vast

majority of the indicia of “bad faith” filings ordinarily identified by the courts, namely: (i) two

single asset entities, (ii) few unsecured creditors, (iii) no ongoing business operations or

employees, (iv) the Principal’s knowledge that the New York Court was going to approve the

sale of the interTouch Membership Interests to GWH on December 10, 2018; (v) the filing of the

Bankruptcy Cases hours before it knew the New York Court was going to enter an Order

approving the sale of the interTouch Membership Interests, (vi) a two-party dispute which is

more appropriately resolved in the New York Action, where final judgment has already entered

and the New York Court has overseen the sale process and entered the Sale Order and Order

Confirming Sale7, (vii) little or no cash or income, (viii) no pressure from non-moving creditors

(no known pressure), (ix) no possibility of reorganization, and (x) filings intended solely to

invoke the automatic stay. See In re Primestone, 272 B.R., 554, 557 (D. Del. 2002) (noting

factors). Indeed, the Primestone case is particularly instructive.




7
             For avoidance of doubt, the Order Confirming Sale was entered after the Bankruptcy Cases were filed.


                                                           15
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18     Page 16 of 27



             58.        Similar to the present case, the debtor in Primestone was a special-purpose entity

organized for the purpose of acquiring, holding, exchanging, or otherwise disposing of limited

partnership units (the “Prime Units”) exchangeable into common shares of beneficial interest in a

real estate investment trust whose subsidiary owned, managed, leased, developed an redeveloped

office and industrial real estate. The debtor had senior and junior loans secured by the Prime

Units; the lenders’ rights vis-à-vis one another were governed by an intercreditor agreement that

required the junior lender to obtain the consent of the senior lender, or buy out the senior lender’s

position, prior to exercising remedies on the junior loan. The junior lender sought to enforce its

remedies. When the senior lender did not consent, the junior lender bought out the senior lender

pursuant to the intercreditor agreement and, thereafter, informed the debtor if its intention to

dispose of the Prime Units at a public auction. Primestone, 272 B.R. at 556.

             59.        The lender retained an investment banker who distributed information to

potentially qualified purchasers of the Prime Units and publicized notices of the auction. In

response to the lender’s actions, the debtor objected to the auction process as “commercially

unreasonable.” The lender commenced litigation against the debtor in Delaware Chancery Court

seeking a declaration that the auction process was commercially reasonable and an injunction

against interference with the foreclose process. At 11:51 p.m. the night before the auction, the

debtor filed a chapter 11 petition, resulting in the automatic stay of the foreclosure proceeding

and the chancery action. The debtor’s 20 largest creditors list did not list any creditors. The

lender moved to dismiss the case for lack of good faith. This Court granted the motion to

dismiss.

             60.        In granting the motion to dismiss, Judge Walrath concluded that the debtor was

sufficiently protected by its bargained-for contractual rights under state law, and that it would be



                                                        16
27528190.2 12/13/2018
                        Case 18-12773-BLS      Doc 4    Filed 12/13/18   Page 17 of 27



inappropriate to arm the debtor with the powers of chapter 11 solely to disadvantage its one

secured creditor. Primestone, 272 B.R. at 558. The district court affirmed this decision. Id.

             61.        More egregious than the debtor in Primestone, the Debtors here invoke the

bankruptcy process after agreeing to the New York Court-sanctioned sale process—with New

York Court oversight—via the Sale Order entered in the New York Action, which ultimately was

So Ordered by the New York Court. Arming the Debtors with the substantial powers of Chapter

11 is not justified by any legitimate bankruptcy purpose. Accordingly, the Debtors cannot

establish the requisite good faith as defined by governing Third Circuit precedent, and the

petitions must be dismissed under section 1112(b) of the Bankruptcy Code.

             62.        The facts in this case are also similar to the Jer/Jameson case, in which the

Bankruptcy Court (Walrath, J.) granted dismissal of the case after concluding that the debtor had

filed its petition in bad faith. In re Jer/Jameson Mezz Borrower II, LLC, 461 B.R. 293, 300

(Bankr. D. Del. 2011). The debtor held only one asset (a membership interest in a subsidiary

entity), had few unsecured creditors, had no ongoing business operations or employees, and filed

its petition on the eve of foreclosure, solely to gain the benefit of the automatic stay. Id. at 299

(noting that “virtually all of the Primestone factors [indicating bad faith] are present”).

             63.        The Jer/Jameson court further concluded that the case involved a “two-party

dispute”, that “litigation is already pending in state court”, and that the “threatened foreclosure

will not affect the operations of the Inns; it will simply change the ownership of [the operating

entity].” Id. Each of those factors is also present in this case. The Debtors filed the Bankruptcy

Cases in order to thwart the entry of the Order Confirming Sale, and alter the status of the two-

party dispute that is being litigated in the New York Court. Moreover, the impact of the Order

Confirming Sale would simply transfer the ownership interests held by Topco, and will not have



                                                       17
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18    Page 18 of 27



any impact on the business operations of the Debtors, insofar as they have no business

operations, apart from litigating this matter.

             64.        More critically, if the Chapter 11 cases are allowed to proceed, it has the

likelihood of causing material disruption to the business operations of both interTouch’s

operating business—Nomadix Inc. and interTouch Pte. Ltd. Uncertainty regarding ownership of

interTouch, and its operating entities, has been a matter of public record since the New York

Action was originally filed and certainly after the Sale Order setting up the sale of Topco’s

interest in interTouch was approved by the New York Court on August 27, 2018. The entry of

the Order Confirming Sale on Monday, December 10, 2018, by the New York Court would bring

certainty and closure regarding who owns and controls interTouch, and by implication Nomadix

Inc. and interTouch Pte. Ltd. Without such certainty, these companies clearly risk the prospect

of eroding their enterprise value.

             65.        Under the Primestone factors, the facts and circumstances firmly establish

substantial cause for dismissal of the Debtors’ Bankruptcy Cases, as it is clear that that both

petitions were filed in bad faith.

                        C.     The Debtors’ Bankruptcy Cases Were Commenced Primarily to
                               Obtain a Tactical Litigation Advantage.

             66.        A chapter 11 case is subject to dismissal if it was commenced primarily to obtain

a tactical litigation advantage. 15375 Memorial, 589 F.3d at 605; SGL Carbon, 200 F.3d at 165.

The tactical advantages gained by the Debtors in commencing the Bankruptcy Cases are obvious.

The Debtors’ naked chapter 11 petitions – filed at approximately 4:30 a.m., nearly eight hours

before the New York Court entered the Order Confirming Sale – automatically divested the

New York Court with authority to oversee a case that it has closely administered since January

2018 with no showing whatsoever by the Debtors in the New York Action, or here for that


                                                        18
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18     Page 19 of 27



matter. This is significant because, for the Debtors to have obtained similar relief outside of

bankruptcy, it would have needed to convince the New York Court to avoid entering the Order

Confirming Sale, which it attempted to do, but failed on Friday, December 8, 2018. See Clasen

Aff., Ex. 10 (12/7/18 Hearing). The bankruptcy filings also saddled GWH with the burden of

coming forward to affirmatively seek relief from the Debtors’ abusive filings. Indeed, because

the Debtors did not seek any first-day relief from this Court (surely a strategic choice), it is likely

the Court was unaware of the Bankruptcy Cases until it received the instant Motion.

             67.        Additionally, but for the imposition of the automatic stay to prevent entry of the

New York Court’s Order Confirming Sale, the Order Confirming Sale would have been entered

and the appeal period would have begun to run. The stay of the entry of the Order Confirming

Sale forces GWH to bear all the risk that the membership interest in interTouch loses value while

the automatic stay remains in place.

             68.        In sum, taking into account the lack of a valid bankruptcy purpose for the

Bankruptcy Cases, the timing of the filing of the Debtors’ petitions, and the tactical advantages

gained from the bankruptcy filing by the Debtors, the only reasonable conclusion is that the

Debtors filed the Bankruptcy Cases as a litigation tactic to frustrate the GWH’s exercise of its

remedies, which is a bad faith purpose for invoking bankruptcy protection. See In re Integrated

Telecom Express, Inc., 384 F.3d 108, 118 (3d Cir. 2004) (“filing a Chapter 11 petition merely to

obtain a tactical litigation advantage is not within ‘the legitimate scope of the bankruptcy

laws’”); Furness v. Lilienfield, 35 B.R. 1006, 1009 (D. Md. 1983) (“The automatic stay was not

intended to grant defendants a last-minute escape chute out of pending civil litigation.”).




                                                        19
27528190.2 12/13/2018
                        Case 18-12773-BLS     Doc 4    Filed 12/13/18   Page 20 of 27



                        D.    The Debtors’ Inability to Effectuate a Plan Constitutes “Cause” for
                              Dismissal Under Section 1112(b).

             69.        Under section 1112(b)(4) of the Bankruptcy Code, “substantial and continuing

loss to or diminution of the estate and the absence of a reasonable likelihood of rehabilitation”

also constitutes “cause” for dismissal. 11 U.S.C. § 1112(b)(4)(A)-(B). Based on the scant

information available in the Bankruptcy Cases and the public information GWH has learned

about the Debtors in the New York Action, it clear that the Debtors are balance-sheet insolvent,

with no “going concern” to preserve in bankruptcy. Conversely, the Debtors’ estates face a

serious threat of loss or diminution resulting from the accrual of chapter 11 administrative

expenses (assuming the Court permits such expenses to be allowed) and potential reputational

damage that may befall interTouch’s operating entities if the entry of the Order Confirming Sale

is further delayed. Additionally, there is no reasonable likelihood of rehabilitation because a

Chapter 11 plan cannot be confirmed over the dissent of GWH, the Debtors’ sole secured

creditor, whose judgment claim, if hypothetically bifurcated to account for a deficiency claim,

would exceed the small amount of non-insider claims. See 11 U.S.C. §1129(a)(10) (requiring at

least one impaired accepting class).

             70.        Moreover, the Debtors are single asset holding companies with no ongoing

business operations and no employees. As such, the Debtors have no prospect of reorganization

and no place in bankruptcy court.              Faced with filings from similar single-asset holding

companies, bankruptcy courts in the Third Circuit have granted motions to dismiss. See e.g., In

re Jer/Jameson Mezz Borrower II, LLC, 461 B.R. 293, 302 (Bankr. D. Del. 2011) (granting

dismissal where debtor was mere holding company incapable of reorganizing); In re 3 RAM,

Inc., 343 B.R. 113, 119 (Bankr. E.D. Pa. 2006) (granting dismissal where debtor held one asset

which was fully encumbered).


                                                      20
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18    Page 21 of 27



             71.        For these reasons, even if the Debtors had commenced bankruptcy cases in good

faith (which, as discussed supra, they did not), dismissal would still be mandatory under section

1112(b)(4). Moreover, even if there were no “loss or continuing diminution to the estate,” the

Debtors’ inability to effectuate a Chapter 11 plan would alone constitute “cause” for dismissal.

In re 3 RAM, Inc., 343 B.R. 113, 117 n.14 (noting the “loss or continuing diminution” element of

§ 1112(b)(4) might not be implicated, strictly speaking, in the case of holding-company debtor

having no operations, nonetheless, the inability to effectuate a Chapter 11 plan would constitute

independent “cause” for dismissal).

             72.        For all of the foregoing reasons, this Court should dismiss the Debtors’

Bankruptcy Cases for cause because the petitions were filed in bad faith.

II.          ALTERNATIVELY, THIS COURT SHOULD ABSTAIN FROM HEARING
             THESE BANKRUTPCY CASES AND ENTER DISMISSAL PURSUANT TO
             SECTION 305(a) OF THE BANKRUPTCY CODE

             73.        Alternatively, the Court should abstain from exercising its jurisdiction over the

Bankruptcy Cases and dismiss the Bankruptcy Cases pursuant to section 305(a)(1) of the

Bankruptcy Code.              Section 305(a)(1) empowers bankruptcy courts to dismiss an otherwise

proper bankruptcy case at any time if “the interests of creditors and the debtor would be better

served by such dismissal.” See 11 U.S.C. § 305(a)(1). Pursuant to section 305(c) of the

Bankruptcy Code, the decision to dismiss a bankruptcy case under section 305(a)(1) is left to the

discretion of the bankruptcy judge and is not reviewable by the respective court of appeals or

United States Supreme Court, although it is reviewable on appeal by the district court under an

“abuse of discretion” standard. See 11 U.S.C. § 305(c); In re Monitor Single Lift I, Ltd., 381

B.R. 455, 463 (Bankr. S.D.N.Y. 2008); Pennino v. Evergreen Presbyterian Ministries (In re

Pennino), 299 B.R. 536, 538 (B.A.P. 8th Cir. 2003); Steinman v. Spencer (In re Argus Group



                                                        21
27528190.2 12/13/2018
                        Case 18-12773-BLS        Doc 4    Filed 12/13/18     Page 22 of 27



1700), 206 B.R. 737, 755 (Bankr. E.D. Pa. 1996). GWH, bears the burden of demonstrating that

the interest of the Debtors and its creditor(s) would be “better served” from such dismissal.

Monitor Single Lift I, 381 B.R. at 462-63.

             74.        Although abstention under section 305(a) is generally considered “an

extraordinary remedy,” id., at 462, the rare set of circumstances presented by the Bankruptcy

Cases falls squarely within the type of case that courts have found to merit dismissal under

section 305(a)(1). In considering whether dismissal under section 305(a)(1) is warranted, “courts

have considered a wide range of factors, including but not limited to who filed the bankruptcy

petition, the availability of another forum to resolve the pending disputes, the necessity of federal

proceedings to achieve a just and equitable solution, the expense of the federal proceedings in

comparison with the proceeds in another forum, the purpose of the party seeking to remain in

bankruptcy court, the economy and efficient of having the bankruptcy court handle the matter

and the possible prejudice to various parties.” Argus Group, 206 B.R. at 755 (quoting In re Carl

Mazzocone, 200 B.R. 568, 575 (E.D. Pa. 1996)).; accord Santa Fe Minerals, Inc. v. BEPCO,

L.P. (In re 15375 Mem. Corp.), 382 B.R. 652, 686 (Bankr. D. Del. 2008) rev’d on other grounds,

400 B.R. 230 (D. Del. 2009). “In addition, if the bankruptcy court is being used as a forum to

resolve what is essentially a two-party dispute, this factor may also be considered in deciding

whether to apply section 305(a). Argus Group, 206 B.R. at 755. However, the exact factors to

be considered and the weight to be given to each factor “is highly sensitive to the facts of each

individual case.” Id.

             75.        Upon review of the factors set forth above and the totality of the circumstances, it

is readily apparent that the Debtors, GWH, and the other creditors would be better served if this

case were dismissed. As the Court can see from the scant docket entries filed to date, by all



                                                         22
27528190.2 12/13/2018
                        Case 18-12773-BLS      Doc 4    Filed 12/13/18    Page 23 of 27



accounts, the Bankruptcy Cases were filed merely to thwart the entry of the Order Confirming

Sale in the New York Action. The Debtors have not moved for any preliminary orders regarding

(i) the use of cash collateral, (ii) authorization for the payment of prepetition wages or other

ordinary course expenses, (iii) the retention of counsel or other professionals; (iv) additional time

to file Schedules, Statements and other Documents; or (v) the utilization of the Debtors’ existing

cash management systems, among other things. The simple fact is that the Debtors are not

operating businesses. Indeed, the Debtors were willing participants in the New York Court-

sanctioned sale process detailed in the Stipulation and So Ordered by the New York Court. Yet,

when the New York Court-sanctioned sale process revealed GWH as the highest bidder, with a

credit bid of $10,000,000.00, the Debtors refused to allow the New York Court to enter the Order

Confirming Sale and instead, attempted to seek refuge in this Court.

             76.        As the Debtors are mere holding companies with few creditors and no business

operations, this action is nothing more than a two-party dispute that is more properly resolved in

the New York Court Action. This factor alone weighs heavily in favor of dismissing the case

under section 305(a)(1). See e.g., Argus Group, 206 B.R. at 755-57 (dismissing case that was

essentially a two-party partnership dispute under section 305(a)(1); In re Business Information

Co., 81 B.R. 382, 387 (Bankr. W.D. Pa. 1988) (dismissing case that was essentially a two-party

dispute under section 305(a)(1)); see also In re Seff Enters. & Holdings, LLC, 2009 Bankr. Lexis

2483 (Bankr. D.N.H. Aug. 26, 2009) (dismissing case under section 305(a)(1) because it was, at

its essence, a two-party dispute).

             77.        Other factors frequently considered by courts also weigh in favor of dismissal.

As noted, supra, the New York Court has already entered the Judgment, So Ordered the Sale

Order, and on December 10, 2018 entered the Order Confirming Sale. Based on the New York



                                                       23
27528190.2 12/13/2018
                        Case 18-12773-BLS        Doc 4    Filed 12/13/18     Page 24 of 27



Court’s involvement in the New York Action to date, GWH is confident that the New York

Court is available to efficiently and expeditiously resolve any remaining matters in the New

York Action, including entering the Order Confirming Sale. As also previously argued in the

context of dismissal under section 1112 of the Bankruptcy Code, federal judicial oversight via

the Bankruptcy Code is not required to achieve a just and equitable solution. Conversely, if the

Bankruptcy Cases are permitted to continue, considerable fees and expenses, including chapter

11 administrative expenses, will be incurred, which would not otherwise be incurred if the

Bankruptcy Cases were dismissed and the matter permitted to proceed in the New York Court.

Given that the Debtors have no actual business, no more value could be created for the Debtors

or its creditors inside of bankruptcy than could be realized through the process that has been

sanctioned by the New York Court.                 This is particularly important given that two factors

frequently cited by courts evaluating whether to dismiss a case under section 305(a)(1) are “the

expense of the federal proceedings in comparison with the proceedings in another forum” and

“the economy and efficiency of having the bankruptcy court handle the matter.” See Argus

Group, 206 B.R. at 755.

             78.        Moreover, the Debtors would most certainly not be able to confirm plans of

liquidation or reorganization in the Bankruptcy Cases without the support of GWH. See 11

U.S.C. § 1129(a)(10) (requiring at least one impaired accepting class); see also Monsour Medical

Ctr., Inc. v. Stein, 154 B.R. 201, 203 (Bankr. W.D. Pa. 1993) (dismissing case under section

305(a)(1) to allow state receivership to proceed primarily because no plan would be confirmable

without the support of the party seeking dismissal under section 305(a)(1)).

             79.        Further, filing bankruptcy solely to avoid a state law foreclosure process justifies

dismissal under section 305(a)(1). See In re Fast Food Properties, Ltd. #1, 5 B.R. 539, 540



                                                         24
27528190.2 12/13/2018
                        Case 18-12773-BLS      Doc 4    Filed 12/13/18    Page 25 of 27



(Bankr. C.D. Cal 1980) (“It is obvious to me that this Chapter 11 case was filed solely for the

purpose of frustrating the enforcement of the power of sale provisions . . . and that the Chapter

11 case should be dismissed.”). Coupled with the fact that the Debtors cannot accomplish any

legitimate bankruptcy purpose through these Chapter 11 cases, as explained above, dismissal of

this case under section 305(a)(1) is appropriate.

             80.        For all of the foregoing reasons, the Court should dismiss the Bankruptcy Cases

pursuant to section 305(a)(1) of the Bankruptcy Code.

III.         DISMISSAL OF THE CHAPTER 11 CASE SHOULD BE WITH PREJUDICE
             PURSUANT TO SECTIONS 105(a) AND 349(a) OF THE BANKRUPTCY CODE

             81.        Section 349(a) of the Bankruptcy Code provides that “[u]nless the court, for

cause, orders otherwise, the dismissal of a case under this title does not bar a discharge, in a later

case under this title, of debts that were dischargeable in the case dismissed; nor does the

dismissal of a case under this title prejudice the debtor with regard to the filing of a subsequent

petition under this title, except as provided in section 109(g) of this title.” 11 U.S.C. § 349(a);

see 11 U.S.C. § 109(g).

             82.        Pursuant to section 105(a) of the Bankruptcy Code, the Court may “[tak[e] any

action or mak[e] any determination necessary or appropriate to enforce or implement court

orders or rules, or to prevent an abuse of process.” 11 U.S.C. § 105(a) (emphasis added).

             83.        A bankruptcy court may apply its inherent powers under sections 105(a) and

349(a) to dismiss a debtor’s chapter 11 case with prejudice and proscribe subsequent filings,

where the debtor has commenced its bankruptcy case for an improper purpose and in bad faith.

See In re Jer/Jameson Mezz Borrower II, LLC, 461 B.R. 293, 304 (Bankr. D. Del. 2011)

(dismissing case with prejudice under section 349(a) because debtor “filed in bad faith and for no

legitimate bankruptcy purpose”).


                                                       25
27528190.2 12/13/2018
                        Case 18-12773-BLS       Doc 4    Filed 12/13/18    Page 26 of 27



             84.        It is necessary for the Court to dismiss the Bankruptcy Cases with prejudice to

prevent the Debtors from attempting to file a successive bankruptcy petitions in this or some

other jurisdiction to further forestall GWH’s efforts at obtaining entry of the Order Confirming

Sale in the New York Action and obtaining Topco’s 100% ownership interest in interTouch.

The Debtors’ bad faith and baseless filing provides justification for the Court to limit the

Debtors’ ability to seek further relief under the Bankruptcy Code without first seeking leave of

this Court.

             85.        For the foregoing reasons, in order to prevent further harm to GWH, the Court

should make its dismissal of the Debtors’ Chapter 11 cases with prejudice and prospectively

enjoin any further filings by the Debtors.

                                                    NOTICE

             86.        Notice of this Motion has been provided to (i) counsel for the United States

Trustee for the District of Delaware, (ii) counsel for the Debtors, (iii) all parties who have filed

an appearance in the Chapter 11 cases; and (iv) the Debtors’ top twenty creditors. GWH submits

that no further notice is necessary under the circumstances.

                                                CONCLUSION

             87.        For the reasons set forth above, this Court should enter an order dismissing with

prejudice, the Debtors’ Chapter 11 cases for cause pursuant to § 1112(b) of the Bankruptcy

Code. In the alternative, the Court should enter an order: (i) abstaining from hearing and

(ii) dismissing the Debtors’ Chapter 11 cases pursuant to § 305(a) of the Bankruptcy Code.

             Wherefore GWH respectfully requests that the Court enter an order: (i) dismissing, with

prejudice, the Debtors’ Chapter 11 cases under § 1112(b) of the Bankruptcy Code, or in the

alternative, abstaining from hearing and dismissing the Debtors’ Chapter 11 cases under § 305(a)



                                                        26
27528190.2 12/13/2018
                        Case 18-12773-BLS   Doc 4    Filed 12/13/18   Page 27 of 27



of the Bankruptcy Code, and (ii) granting GWH such other and further relief as is just and

proper.


Dated: December 13, 2018                        SAUL EWING ARNSTEIN & LEHR LLP


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                                                    27
27528190.2 12/13/2018
